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                         THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 WILLIAM HANNAH, individually and on
 behalf of all other similarly situated,

                         Plaintiff,
                                                      No. 1:18-cv-7564
         v.
                                                      Hon. Andrea R. Wood
 HUNTINGTON BANCSHARES
 INCORPORATED, d/b/a THE
 HUNTINGTON NATIONAL BANK,

                         Defendant.


   DECLARATION OF ANNA MAREK IN SUPPORT OF DEFENDANT’S PARTIAL
      MOTION TO DISMISS THE COMPLAINT FOR LACK OF PERSONAL
                          JURISDICTION

I, Anna Marek, declare:

        1.      I have knowledge of the facts stated herein and would competently testify to the

truth of these facts if called as a witness.

        2.      Since July 2017 to the present, I have held the position of Chicago South Area

Manager of the Mortgage Retail Division of Defendant, The Huntington National Bank (“HNB”).

        3.      I am familiar with the business operations of HNB and have authority to make these

statements on its behalf. Additionally, in connection with making this Declaration, I have acquired

personal knowledge of the matters stated herein by examining HNB’s business records, which are

created, kept, and maintained in the ordinary and regular course of business practice for HNB.

        4.      I am responsible for supervising all Illinois mortgage loan officers (“MLOs”) in

HNB’s Chicago South Area.




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        5.       I supervised Illinois MLO, William Hannah (“Hannah”), from April 2018 until he

resigned on October 3, 2018.

        6.       I supervised Illinois MLO, Dylan Hoffman (“Hoffman”), from August 2018 until

he resigned on October 1, 2018.

        7.       I work from HNB’s office in Downers Grove, Illinois.

        8.       HNB is a wholly-owned banking subsidiary of its parent company, Huntington

Bancshares Incorporated (“HBI”), which is a multi-state diversified regional bank holding

company organized under Maryland law and headquartered in Columbus, Ohio.

        9.       HNB issues company-wide policies, decisions, and strategies from its headquarters

in Columbus, Ohio. These policies govern the compensation of MLOs, their time-entry practices,

and their overtime payments.

        10.      Time records concerning MLOs are maintained, generated, and processed in

Columbus, Ohio.

        11.      HNB’s Mortgage Retail Division provides mortgage banking services and offers

various residential loan products.

        12.      The Mortgage Retail Division Manager oversees HNB’s mortgage lending

operations from Columbus, Ohio.

        13.      The business operations of the Mortgage Retail Division are highly segmented due

to the manner in which retail lending conditions vary across, or even within, metropolitan

statistical areas.

        14.      The Mortgage Retail Division is divided into geographic regions (the “Regions”)

for organizational, managerial, and supervisory purposes, and some Regions (e.g.,

Illinois/Wisconsin) are subdivided into geographic areas (the “Areas”).


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        15.   A Regional Manager supervises each Region and manages all Area Managers

within the Region.

        16.   Area Managers supervise MLOs, and in some cases, Sales Team Leaders, in the

Area. Where applicable, Sales Team Leaders directly supervise MLOs.

        17.   MLOs are required to electronically enter their time on a system called E-Time for

Area Managers or (where applicable) Sales Team Leaders to review on a bi-weekly basis.

        18.   Area Managers review the time records of the MLOs assigned to their Area.

        19.   The Regions are the Central Ohio Region, Northeast Ohio Region, Pennsylvania

Region, Michigan Region, East Michigan Region, West Virginia Region, Southwest Region, and

the Illinois/Wisconsin Region.

        20.   The Illinois/Wisconsin Region is subdivided into the Chicago North Area, Chicago

South Area, and Wisconsin Area.

        21.   There are no HNB Areas in Illinois outside the Chicago metropolitan area.

        22.   From November 14, 2015 to November 14, 2018, the Chicago North Area and

Chicago South Area employed a total of 42 MLOs (the “Illinois MLOs”).

        23.   The Illinois MLOs work and reside in Illinois.

        24.   From November 14, 2015 to November 14, 2018, HNB employed at total of 469

MLOs in Florida, Indiana, Kentucky, Maryland, Michigan, Missouri, New Jersey, Ohio,

Pennsylvania, Wisconsin, and West Virginia (the “Nonresident MLOs”).

        25.   The Nonresident MLOs do not reside in Illinois.

        26.   The Nonresident MLOs do not perform any work for HNB in Illinois.




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        27.     MLOs’ day-to-day activities and responsibilities are largely determined by their

loan referral sources (i.e., self-generated, branch, marketing campaign, etc.), and their referral

sources are fundamentally tied to their Area.

        28.     MLOs sell residential mortgage loan products by building personal relationships

with referral sources such as community members, organizations, and clients located within the

MLO’s Area.

        29.     MLOs are expected to meet with the “Centers of Influence” in their Area for face-

to-face consultations, marketing events, and sales pitches with the expectation that the MLOs will

gain business from such interfaces.

        30.     MLOs’ ability to originate and close loans facilitated through such meetings

determines whether they will meet certain production goals and standards, which ultimately affects

the calculation and amount of their compensation.

        31.     MLOs are non-exempt employees and are paid hourly compensation, expressed as

a base salary for 40 hours worked in a week, and are also eligible to earn commissions by

originating loans that are closed and funded.

        32.     Other than a small number of MLOs who are not subject to a commission draw

schedule, commissions typically are paid only if: (i) the amount earned from loans closed and

funded each month exceeds an MLO’s total base salary for the month; and (ii) minimum

production levels are met.

        33.     Minimum production levels (expressed in dollars and units) are segmented by

Region, Area, team, or individual, or any combination thereof.

        34.     This permits the unique market conditions of different Areas to dictate MLO

compensation.


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        35.    MLOs set their own hours and record their own time in E-Time.

        36.    Illinois MLOs electronically enter their time and overtime on the E-Time system

for review by one of the two Illinois Area Managers.

        37.    The Illinois Area Managers do not have any authority over the Nonresident MLOs’

duties, time-keeping, or compensation.

        38.    Neither the Chicago North Area Manager nor the Chicago South Area Manager

have any supervisory or management authority over the Nonresident MLOs.

        39.    Conversely, the Nonresident MLOs’ time and overtime is not entered or reviewed

in Illinois.

        40.    HNB employed Plaintiff Hannah from May 1, 2017 to October 3, 2018.

        41.    At all times, Plaintiff Hannah was an Illinois MLO assigned to either the Chicago

North Area or the Chicago South Area.

        42.    HNB employed Opt-In Plaintiff Hoffman from March 5, 2018 to October 1, 2018.

        43.    At all times, Opt-In Plaintiff Hoffman was an Illinois MLO assigned to Chicago

South Area.

        44.    At all times, Hannah and Hoffman were Illinois MLOs.

        45.    Hannah and Hoffman performed no work outside Illinois.

        46.    The Illinois Area Managers had exclusive authority to supervise Hannah and

Hoffman’s work, review their time records, and set their compensation.

        47.    The Nonresident MLOs did not work within Illinois.

        48.    The Illinois Area Managers have no authority to supervise the work, review the

time records, or set the compensation of the Nonresident MLOs.




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